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   7
                                UNITED STATES DISTRICT COURT
   8
                              CENTRAL DISTRICT OF CALIFORNIA
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       MATTHEW ELIAS, an individual, on                      Case No. 2:20-cv-01854-JFW (ASx)
  11   behalf of himself and all others similarly
       situated and aggrieved,                               ORDER GRANTING JOINT
  12                                                         STIPULATION TO DISMISS
                                                             ENTIRE ACTION WITH
  13                        Plaintiff,                       PREJUDICE
  14          v.                                             F.R.Civ.P. 41(a)(1)
  15   SPOTIFY USA INC.,
  16                         Defendant/Third Party
       Plaintiff,
  17
              v.
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       THE EXECUSEARCH GROUP, LLC
  19   AND EXECUSEARCH HOLDINGS,
       LLC dba THE EXECUSEARCH GROUP,
  20   LLC,
  21                 Third Party Defendants.
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       Order Granting Stipulation to Dismiss Entire Action         Case No. 2:20-cv-01854-JFW (ASx)
Case 2:20-cv-01854-JFW-AS Document 121 Filed 11/15/21 Page 2 of 2 Page ID #:1668



   1           On November 12, 2021, Plaintiff MATTHEW ELIAS (“Plaintiff”),
   2   Defendant/Third-Party Plaintiff SPOTIFY USA INC. (“Spotify”), and Third-Party
   3   Defendants THE EXECUSEARCH GROUP, LLC and EXECUSEARCH
   4   HOLDINGS, LLC dba THE EXECUSEARCH GROUP, LLC. (collectively,
   5   “Execu/Search”) filed a Joint Stipulation to Dismiss the Entire Action with
   6   prejudice pursuant to Federal Rule of Civil Procedure 41(a). Dkt. No. 120. As the
   7   parties have reached an agreement to settle all claims, see Dkt. No. 116-1, which
   8   the Court approved, Dkt. No. 118, the Court enters the stipulation and dismisses
   9   both Plaintiff’s operative Complaint, and all claims and causes of action therein,
  10   and Spotify’s operative Third Party Complaint against Execu/Search, and all
  11   claims and causes of action therein (collectively, the “Action”), with prejudice,
  12   with each party bearing that party’s own attorneys’ fees and costs. The entire
  13   Action is thus dismissed with prejudice.
  14   IT IS SO ORDERED.
  15   Dated: November 15, 2021
  16                                                 Hon. John F. Walter
                                                     United States District Judge
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       Order Granting Stipulation to Dismiss Entire Action      Case No. 2:20-cv-01854-JFW (ASx)
